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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. THOMAS J. AQUILINO, SENIOR JUDGE
 ---------------------------------------------------------------x
 Mast Industries,                                                :

                           Plaintiff,                           :

                                     v.                         :           Court No.      07-00112

 United States,                                                  :

                            Defendant.                           :
 ----------------------------------------------------------------x



                                            COMPLAINT

    1. Plaintiff is the importer of record.

    2. The protests and summons herein were timely filed.

    3. All liquidated duties, charges and exactions were paid prior to commencement of

        this action.

    4. The imported merchandise at issue (“subject merchandise”) is identified on

        Exhibit 1 by protest number, entry number, entry line number, style number, and

        style description.

    5. The subject merchandise consists of ladies’ knitted tops with a built-in shelf bra.

    6. In liquidation, U.S. Customs and Border Protection (“Customs”) classified the

        subject merchandise as tank tops, knitted or crocheted, of cotton, under HTSUS

        subheading 6109.10.00 at the rate of 16.5 percent ad valorem.

    7. The subject merchandise is classifiable as other garments, knitted or crocheted, of

        cotton under subheading 6114.20.00, HTSUS, at the rate of 10.8 percent ad

        valorem, or



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    8. The subject merchandise is similar to the merchandise at issue in Victoria’s Secret Direct,

        LLC v. United States, 908 F. Supp. 2d 1332 (Ct. Int’l. Trade 2013) and Lerner N.Y., Inc.

        v. United States, 908 F. Supp. 2d 1313 (Ct. Int’l. Trade 2013), aff’d. Victoria’s Secret,

        LLC. V. United States, 908 F.3d 1102 (Fed. Cir. 2014), wherein the court held that knitted

        outer garments which provide significant body coverage and bust support are classifiable

        under heading 6114, HTSUS.



        WHEREFORE, plaintiff respectfully requests that this Court render judgment in its

favor and direct Customs to (1) reliquidate each entry identified on Exhibit 1 with identified style

number, classifying each style number identified for that entry as indicated above and (2) refund

the excess duties collected with lawful interest.


                                              Respectfully submitted,


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                                      /s/     Robert F. Seely
                                              Robert B. Silverman
                                              Alan R. Klestadt

Dated: New York, New York
       May 2, 2022




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                                          EXHIBIT 1

Port: Seattle, WA (3001); Newark, NJ (4601)

Summons Filed: 3/27/2007

NOTE: Entries that are asterisked (*) are abandoned and not subject to stipulation of judgment.

         PROTEST            ENTRY         LINE STYLE              DESCRIPTION
      4701‐06‐100651     113‐3227968‐3     32 2001210     TANK TOP,SHELF BRA OF COTTON
      3001‐06‐100425     113‐3281961‐1*
      3001‐06‐100425     113‐3281962‐9*
      3001‐06‐100501     113‐3325575‐7*
      4601‐06‐101534     113‐3109615‐3*
      4601‐06‐101534     113‐3109616‐1*
      4601‐06‐101534     113‐3109617‐9*
      4601‐06‐101534     113‐3109622‐9*
      4601‐06‐101534     113‐3123923‐3*
      4601‐06‐101534     113‐3124905‐9*
      4601‐06‐101534     113‐3124908‐3*
      4601‐06‐101534     113‐3124913‐3*
      4601‐06‐101534     113‐3124914‐1*
      4601‐06‐101534     113‐3124915‐8*
      4601‐06‐101534     113‐3124916‐6*
      4601‐06‐101534     113‐3124917‐4*
      4601‐06‐101534     113‐3124919‐0*
      4601‐06‐101534     113‐3125640‐1*
      4601‐06‐101534     113‐3125641‐9*
      4601‐06‐101534     113‐3125642‐7*
      4601‐06‐101534     113‐3125645‐0*
      4601‐06‐101534     113‐3152882‐5*
      4601‐06‐101534     113‐3152883‐3*
      4601‐06‐101534     113‐3152884‐1*
      4601‐06‐101534     113‐3152885‐8*
      4601‐06‐101534     113‐3152886‐6*
      4601‐06‐101534     113‐3152887‐4*
      4601‐06‐101930     113‐3189677‐6*
      4601‐06‐101930     113‐3189679‐2*
      4601‐06‐101930     113‐3189680‐0*
      4601‐06‐101931     113‐3207765‐7*
      4601‐06‐101931     113‐3207766‐5*
      4601‐06‐101931     113‐3207767‐3*
      4601‐06‐101931     113‐3208029‐7*
      4601‐06‐101931     113‐3208030‐5*


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         PROTEST          ENTRY         LINE   STYLE             DESCRIPTION
      4601‐06‐101931   113‐3208031‐3*
      4601‐06‐101931   113‐3208036‐2*
      4601‐06‐101931   113‐3208043‐8*
      4601‐06‐101931   113‐3208044‐6*
      4601‐06‐101931   113‐3208045‐3*
      4601‐06‐101931   113‐3208046‐1*
      4601‐06‐101931   113‐3208047‐9*
      4601‐06‐101931   113‐3208048‐7*
      4601‐06‐101931   113‐3208080‐0*
      4601‐06‐101931   113‐3208081‐8*
      4601‐06‐101931   113‐3208082‐6*
      4601‐06‐101931   113‐3208088‐3*
      4601‐06‐101931   113‐3208089‐1*
      4601‐06‐101931   113‐3208090‐9*
      4601‐06‐101931   113‐3208091‐7*
      4601‐06‐101931   113‐3209839‐8*
      4601‐06‐101931   113‐3209843‐0*
      4601‐06‐101931   113‐3209846‐3*
      4601‐06‐101931   113‐3211088‐8*
      4601‐06‐101931   113‐3211090‐4*
      4601‐06‐101931   113‐3211091‐2*
      4601‐06‐101931   113‐3211092‐0*
      4601‐06‐101931   113‐3227553‐3*
      4601‐06‐101931   113‐3228480‐8*
      4601‐06‐101931   113‐3229626‐5*
      4601‐06‐101931   113‐3229627‐3*
      4601‐06‐101931   113‐3229628‐1*
      4601‐06‐101931   113‐3229629‐9*
      4601‐06‐101931   113‐3229631‐5*
      4601‐06‐101931   113‐3229632‐3*
      4601‐06‐101931   113‐3229633‐1*




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